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                                                      March 26, 2025

        BY EMAIL: christopher yoos@nid.uscourts.gov
        Hon. J. Brendan Day
        United States Magistrate Judge
        District of New Jersey
        402 E. State Street
        Trenton, New Jersey 08608

                  Re: United States v. Boruch Drillman, 23 CR 1053 (RK) (JBD)

        Dear Judge Day:

                 I am writing on behalf of defendant Boruch Drillman to respectfully request a
        modification of Mr. Drillman's conditions of release which would permit him to travel to
        Jerusalem, Israel from April 7 through April 24, 2025 for Passover. Pretrial Services, by USPO
        Todd Jones, has no objection to this request, and the government, by AUSA Babasijibomi
        Moore, takes no position. If approved, Mr. Drillman would provide a detailed itinerary of his
        trip to both the government and Pretrial Services. Additionally, USPO Jones has indicated that
        to facilitate this trip, Mr. Drillman should pick up his passport from Pretrial Services 24-48 hours
        prior thereto, and return it within the same time frame at its conclusion.

                By way of background, on December 13, 2023, Your Honor released Mr. Drillman on his
        own recognizance following his guilty plea earlier the same day in the above-referenced case,
        with conditions, inter alia, limiting his travel to the continental United States and requiring that
        he surrender his passport and all travel documentation, which was thereafter provided to Todd
        Jones of Pretrial Services in Trenton.
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JEFFREY LICHTMAN

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 District of New Jersey
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        Thank you for the Court's consideration of this application; I remain available for a
 conference should Your Honor deem it necessary.


                                              Respectfully submitted,


                                                     ~
                                              Jeffrey Lichtman

 cc:    All counsel (by email)
        Pretrial Services (by email)



        SO ORDERED:



        HON. J. BRENDAN DAY, U.S.M.J.
